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  Attorneys for Defendants
  CBS CORPORATION, CBS FILMS DISTRIBUTION INC.,
  EYE PRODUCTIONS INC.,
  and CBUBTL, LLC dba ENTERTAINMENT PARTNERS
                  IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF HAWAII
   KELLY M. TOLAR                          CIVIL NO. 17-00540 SOM-KJM
                     Plaintiff,            STIPULATION FOR DISMISSAL
                                           WITH PREJUDICE AS TO ALL
            vs.                            CLAIMS AND PARTIES AND
                                           ORDER
   EYE PRODUCTIONS , INC.; CBS
   FILM DISTRIBUTION, INC.; CBUBTL
   (Hawaii 5-0) dba ENTERTAINMENT
   PARTNERS; CBS CORPORATION,
   INC.; JEFFREY M. DOWNER; JAKE
   DOWNER; JOHN DOES 1-10, JANE
   DOES 1-10; DOE PARTNERSHIPS 1-
   10; DOE CORPORATIONS 1-10; DOE
   “NON PROFIT” CORPORATIONS 1-
   10; and DOE GOVERNMENTAL
   UNITS 1-10,
                                           No Trial Date Set.
                     Defendants.



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                    STIPULATION FOR DISMISSAL WITH
            PREJUDICE AS TO ALL CLAIMS AND PARTIES AND ORDER

                IT IS HEREBY STIPULATED by and between all parties who have

  appeared in this action, by their respective counsel, that this action is dismissed

  with prejudice. There are no remaining parties and/or issues.

                This stipulation is based on Rule 41(a)(1)(A)(ii) of the Federal Rules

  of Civil Procedure and has been signed by counsel for all parties who have made

  an appearance in this action. Trial has not been set. Each party agrees to bear

  his/its own attorneys’ fees and costs.

                DATED:       Honolulu, Hawaii, April 25, 2018.


                                                  Stuart T. Feeley
                                                 JASON M. TANI
                                                 STUART T. FEELEY
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                                                 Attorneys for Plaintiff
                                                 KELLY M. TOLAR


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                                                 CBS CORPORATION, CBS FILMS
                                                 DISTRIBUTION INC.,
                                                 EYE PRODUCTIONS INC. and
                                                 CBUBTL, LLC dba
                                                 ENTERTAINMENT PARTNERS

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  APPROVED AS TO FORM AND SO ORDERED:


                    /s/ Susan Oki Mollway
                    Susan Oki Mollway
                    United States District Judge




  Kelly M. Tolar vs. Eye Productions, Inc., et al., Civil No. 17-00540 SOM-KJM;
  STIPULATION FOR DISMISSAL WITH PREJUDICE AS TO ALL CLAIMS
  AND PARTIES AND ORDER

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